
98 N.Y.2d 666 (2002)
In the Matter of EVELYN X. and Another, Children Alleged to be Neglected. CLINTON COUNTY DEPARTMENT OF SOCIAL SERVICES, Respondent; SUSAN X., Appellant, et al., Respondent.
Court of Appeals of the State of New York.
Submitted April 29, 2002.
Decided June 11, 2002.
Appeal, insofar as taken from that portion of the Appellate Division order dismissing the appeal from the order of Family Court holding appellant Susan X. in violation of prior orders of that court, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such portion of the order does not finally determine the proceeding within the meaning of the Constitution; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
